                    Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 1 of 71 Page ID #:1
         AO 91 (Rev. 11/11) Criminal Complaint


                                              UNITED STATES DISTRICT COURT
                                                                      for the
                                                          Central District
                                                        __________         of of
                                                                    District  California
                                                                                 __________

                           United States of America                      )
                                      v.                                 )
                          Steve Jackson Rodriguez
                                                                         )      Case No.
                                                                         )                 5:21-mj-00551-Duty
                                                                         )
                                                                         )
                                                                         )
                                   Defendant(s)


                                                        CRIMINAL COMPLAINT
                  I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
         On or about the date(s) of               January 27, 2018              in the county of          San Bernardino      in the
               Central          District of       California         , the defendant(s) violated:

                     Code Section                                                  Offense Description
         18 U.S.C. § 2251(a)                          Production of Child Pornography




                  This criminal complaint is based on these facts:
         Please see attached affidavit




                  ✔ Continued on the attached sheet.
                  u

                                                                                                            /s/
                                                                                                    Complainant’s signature

                                                                                                      Derek R. Baker
                                                                                                     Printed name and title

         Sworn to before me by telephone pursuant to FRCP 4.1.


         Date:        8/26/2021, 9:50 am
                                                                                                       Judge’s signature

                                                                                HON. PEDRO V. CASTILLO, UNITED STATES MAGISTRATE JUDGE
         City and state:              Los Angeles, CA
                                                                                                     Printed name and title

$86$
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 2 of 71 Page ID #:2



                                AFFIDAVIT

I, Derek R. Baker, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

     1.     I am a Special Agent (“SA”) with the United States

Department of Homeland Security (“DHS”), Immigration and Customs

Enforcement (“ICE”), Homeland Security Investigations (“HSI”),

and have been so employed since June 2018.

            II. BACKGROUND OF SPECIAL AGENT DEREK R. BAKER

     2.     I am currently assigned to the HSI Los Angeles Child

Exploitation Task Force, where I investigate criminal violations

relating to child exploitation and child pornography, illegal

production, distribution, receipt and possession of child

pornography, in violation of 18 U.S.C. §§ 2252A and the SUBJECT

OFFENSES.    I have received training in the area of child

pornography and child exploitation offenses and have observed

and reviewed various examples of child pornography in all forms

of media, including computer media.

     3.     I have participated in the execution of numerous

search warrants, many of which involved child exploitation

and/or child pornography offenses, including those relating to

subjects who use the Internet and two-way communication devices,

such as cellular telephones, to entice or coerce minors to

engage in sexually explicit conduct.        I make this affidavit

based upon my personal knowledge and experience, my review of

pertinent documentation, and discussions with other law

enforcement officers.

                                    1
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 3 of 71 Page ID #:3



     4.     Through both my training and my experience, I have

become familiar with the methods of operation used by people who

commit offenses involving the sexual exploitation of children.

I have attended training classes concerning computer crimes and

the sexual exploitation of children on the Internet.          This

training has given me an understanding of how people involved

with offenses relating to the sexual exploitation of children

use the Internet to further those offenses.         My experience in

investigations in this regard has supplemented my understanding

of how people involved in offenses related to the sexual

exploitation of children use the Internet to further those

offenses.

                      III. PURPOSE OF AFFIDAVIT

     5.     By this affidavit, I seek a criminal complaint for

Steve Jackson Rodriguez (“RODRIGUEZ”) for Production of Child

Pornography, in violation of 18 U.S.C. § 2251(a).          The facts set

forth in this affidavit are based upon my personal observations,

my training and experience, documents, evidence, and information

obtained from other agents and witnesses.        This affidavit is

intended to show merely that there is sufficient probable cause

for the requested warrant and does not purport to set forth all

of my knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.




                                    2
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 4 of 71 Page ID #:4



           IV. BACKGROUND ON CHILD EXPLOITATION OFFENSES

     6.    Based upon my training and experience in the

investigation of child pornography offenses, and information

related to me by other law enforcement officers involving the

investigation of child pornography offenses, I know the

following information about child pornography:1

           a.   “Child pornography,” as defined in 18 U.S.C.

§ 2256(8), is any visual depiction, including any photograph,

film, video, picture, or computer or computer-generated image or

picture, whether made or produced by electronic, mechanical or

other means, of sexually explicit conduct, where: (a) the

production of the visual depiction involved the use of a minor

engaged in sexually explicit conduct; (b) the visual depiction

is a digital image, computer image, or computer-generated image

that is, or is indistinguishable from, that of a minor engaged

in sexually explicit conduct; or (c) the visual depiction has

been created, adapted, or modified to appear that an

identifiable minor is engaged in sexually explicit conduct.

           b.   “Minor,” as defined in 18 U.S.C. § 2256(1),

refers to any person under the age of eighteen years.

           c.   “Sexually explicit conduct,” as defined in 18

U.S.C. § 2256(2), means actual or simulated (a) sexual

intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or

opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or


     1 Additional terms and background are contained in the
affidavit incorporated by reference attached as exhibit 1.
                                    3
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 5 of 71 Page ID #:5



masochistic abuse; or (e) lascivious exhibition of the anus,

genitals, or pubic area of any person.

                    V. SUMMARY OF PROBABLE CAUSE

     7.    On or about July 12, 2021, I received information from

the National Center for Missing and Exploited Children (“NCMEC”)

which identified a user who uploaded child pornography files

using their Google account, stevoevil22@gmail.com (the “SUBJECT

ACCOUNT”).   In a later interview with law enforcement, RODRIGUEZ

confirmed that he owned the SUBJECT ACCOUNT until it was

suspended/terminated by Google.

     8.    On or about August 6, 2021, I obtained a federal

search warrant from the Honorable Maria A. Audero, in case

number 2:21-mj-3616, for the SUBJECT ACCOUNT.         While searching

the SUBJECT ACCOUNT, law enforcement found videos which appeared

to depict RODRIGUEZ orally copulating a minor victim who was

approximately 5-9 years old2 (“MV #1”).3       According to data

associated with two other images of MV #1 found in the SUBJECT

ACCOUNT, these two images were taken using an LG Electronics

device, model LG-LS993 cell phone (“LG G6”).         On August 25,

2021, law enforcement found an LG G6 cell phone in RODRIGUEZ’s




     2 Law enforcement later determined MV #1 was approximately 8
years old at the time this conduct occurred.
     3 Law enforcement has not completed its review of the
SUBJECT ACCOUNT. This affidavit does not list all of the items
found to date in the SUBJECT ACCOUNT, nor does it represent a
full review of the SUBJECT ACCOUNT.
                                    4
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 6 of 71 Page ID #:6



car.       In the search of the SUBJECT ACCOUNT, law enforcement also

found other images of a person who appeared to be RODRIGUEZ.

       9.      On or about August 19, 2021, I obtained three federal

search warrants from the Honorable Alka Sagar to search the

SUBJECT PREMISES, RODRIGUEZ’s person, and RODRIGUEZ’s suspected

vehicle (the “SUBJECT VEHICLE,” collectively, the “August 19th

Search Warrants”).      A copy of the application to search the

SUBJECT PREMISES, filed in case number 2:21-mj-3867, is attached

to this affidavit as Exhibit 1.4         Exhibit 1 is attached and

wholly incorporated by reference.

       10.     On August 25, 2021, law enforcement executed the

August 19th Search Warrants and interviewed RODRIGUEZ.           During

this interview law enforcement showed RODRIGUEZ a still image of

MV #1 which was taken from a file found in the SUBJECT ACCOUNT.

In response to seeing an image of MV #1, RODRIGUEZ identified MV

#1 by first and last name and identified her as 9 years old.

       11.       As set forth below in more detail, I believe there

is probable cause that RODRIGUEZ committed the SUBJECT OFFENSE.

                      VI. STATEMENT OF PROBABLE CAUSE

       12.     I learned the following information from my review of

information from NCMEC, Google, the SUBJECT ACCOUNT, information

found from publicly available and law enforcement databases,


       The additional search warrant applications to search
       4
RODRIGUEZ’s person and the SUBJECT VEHICLE were based on the
same affidavit and are located in case numbers 2:21-mj-3868, and
2:21-mj-3869.
                                     5
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 7 of 71 Page ID #:7



interviews of witnesses, through my personal observations and

investigation, and discussions with other law enforcement

agents:

     A.     Initial Investigation

            1.   Identification of the SUBJECT ACCOUNT

     13.    Using data provided by NCMEC and Google, law

enforcement was able to determine that a user had uploaded

suspected child pornography on the SUBJECT ACCOUNT, as described

in more detail in Exhibit 1.

     14.    According to Google, the SUBJECT ACCOUNT is registered

to “Steve Rodriguez,” registered with phone number (626) 392-

8852 (the “-8852 Number”), verified5 on January 25, 2016, at 7:30

a.m. UTC.    In a later interview with law enforcement RODRIGUEZ

stated that the -8852 Number was his phone number, and that he

used the SUBJECT ACCOUNT.

     15.    Google provided EXIF6 data from two of the 18 files

Google reported as containing and/or associated with suspected

child pornography uploaded to the SUBJECT ACCOUNT.          The EXIF

data captured by Google indicated these two files were captured

using an LG Electronics device, model LG-LS993 (which is more



     5 According to Google, phone number(s) are provided by the
account holder. “Verified” indicates the account holder
responded to a request by the PROVIDER to confirm the phone
number is valid/correct.
     6 EXIF is abbreviated for exchangeable image file format,
which is data contained withing the file, and can contain
specific information about that file, including, but not limited
to, the camera make/model and date the file was created.
                                    6
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 8 of 71 Page ID #:8



commonly known as a “G6”) and on the same date/time, which was

January 1, 2018, at 4:09 a.m., however the exact time zone was

not indicated.    Based on my training and experience, I know EXIF

data can potentially help identify the physical device which

produced the files, here the child pornography files.          This EXIF

data for two of the files uploaded into the SUBJECT ACCOUNT

appears to match data from RODRIGUEZ’s registered cellphone at

the time.   These two still images appear to depict MV #1.          MV

#1’s face is clearly visible in the images, and she appears to

have a colostomy bag attached to her abdomen.7

     16.    During my review of the SUBJECT ACCOUNT, I saw at

least two videos that appeared to depict RODRIGUEZ orally

copulating MV #1 (the “SUBJECT VIDEOS”).8        During the SUBJECT

VIDEOS, you can see MV #1’s colostomy bag.        The file name of

these two files appeared to indicate they were recorded on

January 27, 2018.    According to metadata provided by Google, the




     7 These two still images of MV #1 may contain child
pornography; however, the government is not relying on these two
images to establish probable cause in the instant complaint.
The government mentions these images and MV #1 to demonstrate
that a LG G6 cellphone associated with RODRIGUEZ may have been
used to capture and/or store images or videos of child
pornography or of MV #1. These images will be referred to as
(“IMAGE #1” and “IMAGE #2”).
     8 I identified RODRIGUEZ based on a comparison of the
SUBJECT VIDEOS with other images contained in the SUBJECT
ACCOUNT and his DMV photograph, and I identified MV #1 based on
a comparison of the victim in IMAGE #1, IMAGE #2 and the two
videos depicting RODRIGUEZ and MV #1 mentioned above.
                                    7
 Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 9 of 71 Page ID #:9



image’s “Photo taken date/time” was listed as January 27, 2018.9

Therefore, I believe these images were produced on January 27,

2018.

               2.   DMV Records

        17.    Through subsequent investigation I was able to obtain

DMV records for RODRIGUEZ.        Through these records I was able to

identify the SUBJECT PREMISES and SUBJECT VEHICLE as RODRIGUEZ’s

registered address and registered car.

        18.    RODRIGUEZ’s DMV records also include an image of

RODRIGUEZ, which I have viewed.       RODGIRUGEZ appeared to be a

Hispanic male whom according to the record, is approximately

5’08” tall and weighs 158 pounds.

        B.     Subsequent Investigation

        19.    On August 25, 2021, the SUBJECT VEHICLE was parked at

RODRIGUEZ’s workplace, College Hospital in Cerritos, California.

SA Radlinski and I approached RODRIGUEZ as he was walking to his

car and began a conversation with him.          I was able to identify

RODRIGUEZ from pictures of RODRIGUEZ I had reviewed earlier,

including those located in the SUBJECT ACCOUNT, his DMV photo,

and in his child pornography videos with MV #1.         RODRIGUEZ was

also wearing a nametag which read “Steve.”10



       The SUBJECT ACCOUNT appeared to contain additional child
        9
pornography images with the same and different victims. The
SUBJECT ACCOUNT also appeared to contain additional images
showing RODRIGUEZ engaged in additional sexual conduct with
minors. I have not included a discussion of these images, nor
do I rely on them for the probable cause in the instant
complaint.
        10   Steve is RODRIGUEZ’s first name.
                                      8
Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 10 of 71 Page ID #:10



     20.     RODRIGUEZ agreed to speak with law enforcement

willingly.    RODRIGUEZ, SA Radlinski, and I walked to a shaded

area in the parking lot of RODRIGUEZ’s employer.         At that time,

I activated a digital audio recorder to memorialize the

interview with RODRIGUEZ.      Neither SA Radlinski or I wore any

attire with a law enforcement insignia and had no weapons

visible at any time.     All three of us were located in an open

parking lot, and law enforcement told RODRIGUEZ that he could

end the interview and leave at any time.        The interview began at

approximately 11:34 a.m.     I started the interview by reading

RODRIGUEZ his Miranda rights from Immigration and Customs

Enforcement (“ICE”) Form 73-025.        After reading the Statement of

Rights to RODRIGUEZ, I gave him the form to sign if he wished.

Although he did not sign the form, RODRIGUEZ agreed to speak

with us.   The below information was learned from the interview

with RODRIGUEZ, who stated the following, among other

incriminating statements:11

             a.   RODRIGUEZ owned the SUBJECT ACCOUNT until it had
been suspended/terminated upon notification by Google that

inappropriate content was in the account.

             b.   RODRIGUEZ is currently employed as a “mental

health worker” at a semi-secure facility which houses voluntary

and involuntary persons, including both adults and minors, with




     11The following statements in this affidavit only include
statements made during the first portion of law enforcement’s
interview with RODRIGUEZ, and does not include any statements
made throughout the remaining portion of the interview.
                                    9
Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 11 of 71 Page ID #:11



job duties that can include administrative duties and physical

care.

               c.   During this interview law enforcement showed

RODRIGUEZ a still image of MV #1 which was taken from a file

found in the SUBJECT ACCOUNT.12      In response, RODRIGUEZ

identified MV #1 by first and last name and stated she was 9

years old.       In response to further questioning, RODRIGUEZ

stated, “She is safe.”

               d.   I believe RODRIGUEZ’s statements identifying MV

#1 and that “She is safe” is confirmation that RODRIGUEZ

personally knew and victimized MV #1 as depicted in the video.

These admissions demonstrate that the videos found in

RODRIGUEZ’s SUBJECT ACCOUNT that appear to depict RODRIGUEZ

engaging in sexual conduct with MV #1, do in fact depict

RODRIGUEZ engaged in sexual conduct with MV #1.

        21.    Subsequent to the interview, law enforcement searched

RODRIGUEZ’s car and found an LG G6 cellphone along with memory

cards.       These items were seized pursuant to the August 19th

Search Warrants.

        22.    Subsequent to the interview, I was able to use the

name provided by RODRIGUEZ to identify MV #1, among other

things, to obtain a photo of MV #1 and compared that photograph

to the child pornography depicting MV #1.        I believe these

photos depict the same person.




       I compared RODRIGUEZ’s face in these videos with his DMV
        12
photo, images on the SUBJECT ACCOUNT, and from having seen him
in person during this interview.
                                    10
Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 12 of 71 Page ID #:12



     23.     According to the identifying information I obtained

for MV #1 and RODRIGUEZ, RODRIGUEZ was 33 years old, and MV #1

was approximately 8 years old at the suspected time of the

sexual contact depicted in the child pornography.          This

information corroborates RODRIGUEZ’s incriminating statements.

                            VII. CONCLUSION

     24.     For all the reasons described above, there is probable

cause to believe that RODRIGUEZ committed the offense of

production of child pornography in violation of 18 U.S.C.

§ 2251(a).



                                                      /s/
                                         DEREK BAKER, Special Agent
                                         Homeland Security
Subscribed to and sworn before           Investigations
me by telephone pursuant to
                26 day of
FRCP 4.1. this ____
August, 2021.



HONORABLE PEDRO V. CASTILLO
UNITED STATES MAGISTRATE JUDGE




                                    11
Case 5:21-cr-00188-JWH Document 1 Filed 08/26/21 Page 13 of 71 Page ID #:13




                     EXHIBIT 1
    Case
   AO       2:21-mj-03867-DUTY
           Case
      106A (08/18)  5:21-cr-00188-JWH
                   Application                  *SEALED*
                                                       Document
                               for a Warrant by Telephone          Document  Filed2-1
                                                                         1 Electronic
                                                          or Other Reliable               *SEALED*
                                                                                      08/26/21
                                                                                      Means     Page Filed
                                                                                                     14 of08/19/21
                                                                                                           71 Page Page  1 of
                                                                                                                   ID #:14                              44
                                                                              Page ID #:73

                                            UNITED STATES DISTRICT COURT                                                                  FILED
                                                                                                                                 CLERK, U.S. DISTRICT COURT
                                                                            for the
                                                                Central District
                                                             __________  Districtofof
                                                                                    California
                                                                                      __________                                     $XJXVW
                        In the Matter of the Search of                             )
                                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
              (Briefly describe the property to be searched or identify the        )
                              person by name and address)                          )     Case No. 2:21-MJ-03867                 BY: &'
                                                                                                                                    ___________________ DEPUTY

                                                                                   )
       Steve Jackson Rodriguez, Date of Birth: 03/25/1984,
                                                                                   )
       California driver’s license: D2730390
                                                                                   )
                                                                                   )
                                                                                   )
       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-2
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                        evidence of a crime;
                        contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                        a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                                    Offense Description
          18 U.S.C § 2251                                                         Production and Attempted Production of Child
                                                                                  Pornography
          18 U.S.C. § 2252A(a)(2)                                                 Distribution or Receipt of Child Pornography
          18 U.S.C. § 2252A(a)(5)(B)                                              Possession of Child Pornography

             The application is based on these facts:
                    See attached Affidavit
                        Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                               ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                          /s/
                                                                                                            Applicant’s signature

                                                                                          HSI Special Agent Derek R. Baker
                                                                                                            Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

        August 19, 2021
Date: ___________________
                                                                                                            JJudge’s
                                                                                                             Ju d e’s sig
                                                                                                                dg    signature
                                                                                                                        gna
                                                                                                                          nattuure

City and state: Los Angeles, CA                                                          Honorable Alka Sagar, U.S. Magistrate Judge
                                                                                                            Printed name and title

AUSA: Lara x0427
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            15 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 22ofof44
                                                                           ID #:15     44
                                    Page
                                     PageID
                                          ID#:74
                                             #:2


                                   ATTACHMENT A-2

    PERSON TO BE SEARCHED

          The person to be searched, and the property that is on his

    person, is identified as Steve Jackson Rodriguez, date of birth

    03/25/1984, California driver’s license D2730390, and who is

    approximately 5 foot 8 inches tall.            Steve Jackson Rodriguez’s

    person includes any pockets in his clothing, and any bags or

    other containers carried or held by him or within his immediate

    control and includes the search of any digital devices found,

    provided that Steve Jackson Rodriguez is located within the

    Central District of California at the time of the search.




                                              ii
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            16 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 33ofof44
                                                                           ID #:16     44
                                    Page
                                     PageID
                                          ID#:75
                                             #:3


                                     ATTACHMENT B
    ITEMS TO BE SEIZED

          1.     The items to be seized are evidence, contraband,

    fruits, or instrumentalities of violations of 18 U.S.C. § 2251

    (production and/or attempted production of child pornography),

    18 U.S.C. § 2252A(a)(2) (distribution or receipt of child

    pornography), and 18 U.S.C. § 2252A(a)(5)(B) (possession of

    child pornography) (the “SUBJECT OFFENSES”), namely:

                 a.   Child pornography, as defined in 18 U.S.C.

    § 2256(8).

                 b.   Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    that refer to child pornography, as defined in 18 U.S.C.

    § 2256(8), including but not limited to documents that refer to

    the possession, receipt, distribution, transmission,

    reproduction, viewing, sharing, purchase, or downloading,

    production, shipment, order, requesting, trade, or transaction

    of any kind, involving child pornography.

                 c.   Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    and also including but not limited to financial records, tending

    to identify persons involved in the possession, receipt,

    distribution, transmission, reproduction, viewing, sharing,

    purchase, or downloading, production, shipment, order,

    requesting, trade, or transaction of any kind, involving child

    pornography, as defined in 18 U.S.C. § 2256.




                                              iv
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            17 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 44ofof44
                                                                           ID #:17     44
                                    Page
                                     PageID
                                          ID#:76
                                             #:4


                d.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    that refer or relate to any production, receipt, shipment,

    order, request, trade, purchase, or transaction of any kind

    involving the transmission through interstate commerce by any

    means, including by computer, of any visual depiction of a minor

    engaged in sexually explicit conduct, as defined in 18 U.S.C.

    § 2256.

                e.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    identifying persons transmitting in interstate commerce,

    including by computer, any visual depiction of a minor engaged

    in sexually explicit conduct, as defined in 18 U.S.C. § 2256.

                f.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    that identify any minor visually depicted while engaging in

    sexually explicit conduct, as defined in 18 U.S.C. § 2256.

                g.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, or videos of

    children, even if not child pornography.

                h.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, or videos of

    children, evidencing RODRIGUEZ’s access to children.

                i.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, or videos of

    a colostomy bag, the use of a colostomy bag, or of a child who




                                              v
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            18 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 55ofof44
                                                                           ID #:18     44
                                    Page
                                     PageID
                                          ID#:77
                                             #:5


    has any medical condition that may require the use of a

    colostomy bag.

                j.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, videos, or

    other evidence of MV #1.

                k.    Any and all records, documents, programs,

    applications, or materials or items which are sexually arousing

    to individuals who are interested in minors, but which are not

    in and of themselves obscene or which do not necessarily depict

    minors involved in sexually explicit conduct.             Such material is

    commonly known as “child erotica” and includes written materials

    dealing with child development, sex education, child

    pornography, sexual abuse of children, incest, child

    prostitution, missing children, investigative techniques of

    child exploitation, sexual disorders, pedophilia, nudist

    publications, diaries, and fantasy writings.

                l.    Any and all records, documents, programs,

    applications, materials, items, images, or depictions of

    underwear, lingerie, sex toys, or other items that are commonly

    used in the sexual abuse of children.

                m.    Any records, documents, programs, applications,

    or materials identifying possible minor victims depicted in

    child pornography and/or minor victims of sexual abuse.

                n.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    which pertain to peer-to-peer file sharing software.




                                              vi
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            19 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 66ofof44
                                                                           ID #:19     44
                                    Page
                                     PageID
                                          ID#:78
                                             #:6


                o.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    which pertain to accounts with any Internet Service Provider.

                p.    Any records, documents, programs, applications,

    materials, and files relating to IP addresses 47.149.10.108 and

    47.149.20.114.

                q.    Records, documents, programs, applications,

    materials, and files relating to the deletion, uploading, and/or

    acquisition of victim files to include photographs, videos, e-

    mails, chat logs, or other files.

                r.    Any digital device bearing electronic serial

    number 089451725600202258.

                s.    Any digital device which is an LG G6.

                t.    Any records, documents, programs, applications,

    materials, items, files, or products related to or could be used

    in the production of images, videos, or other depictions of

    child pornography.

                u.    Any records, documents, programs, applications,

    materials, items, files, or products related to or could be used

    in the production of images, videos, or items depicted in any of

    the 18 images of child pornography found in the SUBJECT ACCOUNT.

                v.    Any digital device used to facilitate the above-

    listed violations and forensic copies thereof.

                w.    Any digital device which is itself or which

    contains evidence, contraband, fruits, or instrumentalities of

    the SUBJECT OFFENSES, and forensic copies thereof.




                                             vii
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            20 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 77ofof44
                                                                           ID #:20     44
                                    Page
                                     PageID
                                          ID#:79
                                             #:7


                x.    With respect to any digital device containing

    evidence falling within the scope of the foregoing categories of

    items to be seized:

                      i.     evidence of who used, owned, or controlled

    the device at the time the things described in this warrant were

    created, edited, or deleted, such as logs, registry entries,

    configuration files, saved usernames and passwords, documents,

    browsing history, user profiles, e-mail, e-mail contacts, chat

    and instant messaging logs, photographs, and correspondence;

                      ii.    evidence of the presence or absence of

    software that would allow others to control the device, such as

    viruses, Trojan horses, and other forms of malicious software,

    as well as evidence of the presence or absence of security

    software designed to detect malicious software;

                      iii. evidence of the attachment of other devices;

                      iv.    evidence of counter-forensic programs (and

    associated data) that are designed to eliminate data from the

    device;

                      v.     evidence of the times the device was used;

                      vi.    passwords, encryption keys, biometric keys,

    and other access devices that may be necessary to access the

    device;

                      vii. applications, utility programs, compilers,

    interpreters, or other software, as well as documentation and

    manuals, that may be necessary to access the device or to

    conduct a forensic examination of it;




                                             viii
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            21 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 88ofof44
                                                                           ID #:21     44
                                    Page
                                     PageID
                                          ID#:80
                                             #:8


                      viii.        records of or information about

    Internet Protocol addresses used by the device;

                      ix.     records of or information about the device’s

    Internet activity, including firewall logs, caches, browser

    history and cookies, “bookmarked” or “favorite” web pages,

    search terms that the user entered into any Internet search

    engine, and records of user-typed web addresses.

          2.    As used herein, the terms “records,” “documents,”

    “programs,” “applications,” and “materials” include records,

    documents, programs, applications, and materials created,

    modified, or stored in any form, including in digital form on

    any digital device and any forensic copies thereof.

          3.    As used herein, the term “digital device” includes any

    electronic system or device capable of storing or processing

    data in digital form, including central processing units;

    desktop, laptop, notebook, and tablet computers; personal

    digital assistants; wireless communication devices, such as

    telephone paging devices, beepers, mobile telephones, and smart

    phones; digital cameras; gaming consoles (including Sony

    PlayStations and Microsoft Xboxes); peripheral input/output

    devices, such as keyboards, printers, scanners, plotters,

    monitors, and drives intended for removable media; related

    communications devices, such as modems, routers, cables, and

    connections; storage media, such as hard disk drives, floppy

    disks, memory cards, optical disks, and magnetic tapes used to

    store digital data (excluding analog tapes such as VHS); and

    security devices.



                                              ix
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed2-1
                                              1 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            22 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 99ofof44
                                                                           ID #:22     44
                                    Page
                                     PageID
                                          ID#:81
                                             #:9


    SEARCH PROCEDURE FOR DIGITAL DEVICES

          4.    In searching digital devices or forensic copies

    thereof, law enforcement personnel executing this search warrant

    will employ the following procedure:

                a.    Law enforcement personnel or other individuals

    assisting law enforcement personnel (the “search team”) will, in

    their discretion, either search the digital device(s) on-site or

    seize and transport the device(s) and/or forensic image(s)

    thereof to an appropriate law enforcement laboratory or similar

    facility to be searched at that location.            The search team shall

    complete the search as soon as is practicable but not to exceed

    120 days from the date of execution of the warrant.              The

    government will not search the digital device(s) and/or forensic

    image(s) thereof beyond this 120-day period without obtaining an

    extension of time order from the Court.

                b.    The search team will conduct the search only by

    using search protocols specifically chosen to identify only the

    specific items to be seized under this warrant.

                      i.     The search team may subject all of the data

    contained in each digital device capable of containing any of

    the items to be seized to the search protocols to determine

    whether the device and any data thereon falls within the list of

    items to be seized.       The search team may also search for and

    attempt to recover deleted, “hidden,” or encrypted data to

    determine, pursuant to the search protocols, whether the data

    falls within the list of items to be seized.




                                              x
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             23  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1010
                                                                                #:23of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:10
                                                #:82


                      ii.   The search team may use tools to exclude

   normal operating system files and standard third-party software

   that do not need to be searched.

                      iii. The search team may use forensic examination

   and searching tools, such as “EnCase” and “FTK” (Forensic Tool

   Kit), which tools may use hashing and other sophisticated

   techniques, including to search for known images of child

   pornography.

                c.    The search team will not seize contraband or

   evidence relating to other crimes outside the scope of the items

   to be seized without first obtaining a further warrant to search

   for and seize such contraband or evidence.

                d.    If the search determines that a digital device

   does not contain any data falling within the list of items to be

   seized, the government will, as soon as is practicable, return

   the device and delete or destroy all forensic copies thereof.

                e.    If the search determines that a digital device

   does contain data falling within the list of items to be seized,

   the government may make and retain copies of such data, and may

   access such data at any time.

                f.    If the search determines that a digital device is

   (1) itself an item to be seized and/or (2) contains data falling

   within the list of other items to be seized, the government may

   retain the digital device and any forensic copies of the digital

   device, but may not access data falling outside the scope of the

   other items to be seized (after the time for searching the

   device has expired) absent further court order.



                                              xi
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             24  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1111
                                                                                #:24of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:11
                                                #:83


                g.    The government may also retain a digital device

   if the government, prior to the end of the search period,

   obtains an order from the Court authorizing retention of the

   device (or while an application for such an order is pending),

   including in circumstances where the government has not been

   able to fully search a device because the device or files

   contained therein is/are encrypted.

                h.    After the completion of the search of the digital

   devices, the government shall not access digital data falling

   outside the scope of the items to be seized absent further order

   of the Court.

          5.    The review of the electronic data obtained pursuant to

   this warrant may be conducted by any government personnel

   assisting in the investigation, who may include, in addition to

   law enforcement officers and agents, attorneys for the

   government, attorney support staff, and technical experts.

   Pursuant to this warrant, the investigating agency may deliver a

   complete copy of the seized or copied electronic data to the

   custody and control of attorneys for the government and their

   support staff for their independent review.

          6.    In order to search for data capable of being read or

   interpreted by a digital device, law enforcement personnel are

   authorized to seize the following items:

                a.    Any digital device capable of being used to

   commit, further, or store evidence of the offenses listed above;




                                             xii
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             25  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1212
                                                                                #:25of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:12
                                                #:84


                b.    Any equipment used to facilitate the

   transmission, creation, display, encoding, or storage of digital

   data;

                c.    Any magnetic, electronic, or optical storage

   device capable of storing digital data;

                d.    Any documentation, operating logs, or reference

   manuals regarding the operation of the digital device or

   software used in the digital device;

                e.    Any applications, utility programs, compilers,

   interpreters, or other software used to facilitate direct or

   indirect communication with the digital device;

                f.    Any physical keys, encryption devices, dongles,

   or similar physical items that are necessary to gain access to

   the digital device or data stored on the digital device; and

                g.    Any passwords, password files, biometric keys,

   test keys, encryption codes, or other information necessary to

   access the digital device or data stored on the digital device.

                h.    After the completion of the search of the digital

   devices, the government shall not access digital data falling

   outside the scope of the items to be seized absent further order

   of the Court.

           7.   During the execution of this search warrant, with

   respect to RODRIGUEZ, who is located in the Central District of

   California during the execution of the search and who is

   reasonably believed by law enforcement to be a user of a

   biometric sensor-enabled device that falls within the scope of

   the warrant, law enforcement personnel are authorized to: (1)



                                             xiii
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             26  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1313
                                                                                #:26of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:13
                                                #:85


   depress the thumb- and/or fingerprints of RODRIGUEZ onto the

   fingerprint sensor of the device (only when the device has such

   a sensor), and direct which specific finger(s) and/or thumb(s)

   shall be depressed; and (2) hold the device in front of the face

   of RODRIGUEZ with his eyes open to activate the facial-, iris-,

   or retina-recognition feature, in order to gain access to the

   contents of any such device.          In depressing RODRIGUEZ’s thumb or

   finger onto a device and in holding a device in front of

   RODRIGUEZ’s face, law enforcement may not use excessive force,

   as defined in Graham v. Connor, 490 U.S. 386 (1989);

   specifically, law enforcement may use no more than objectively

   reasonable force in light of the facts and circumstances

   confronting them.

          8.    The special procedures relating to digital devices

   found in this warrant govern only the search of digital devices

   pursuant to the authority conferred by this warrant and do not

   apply to any search of digital devices pursuant to any other

   court order.




                                             xiv
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             27  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1414
                                                                                #:27of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:14
                                                #:86


                                      AFFIDAVIT

   I, Derek R. Baker, being duly sworn, declare and state as

   follows:

                                  I. INTRODUCTION

          1.    I am a Special Agent (“SA”) with the United States

   Department of Homeland Security (“DHS”), Immigration and Customs

   Enforcement (“ICE”), Homeland Security Investigations (“HSI”),

   and have been so employed since June 2018.

                             II. PURPOSE OF AFFIDAVIT

          2.    This affidavit is made in support of an application

   for warrants to search the following:

                a.    1113 San Bernardino Avenue, Pomona, California

   91767 (the “SUBJECT PREMISES”), as further described in

   Attachment A-1; and,

                b.    The person of Steve Jackson Rodriguez

   (“RODRIGUEZ”) date of birth is 03/25/1984, who appears to be a

   Hispanic male, and is approximately 5 foot 8 inches tall, as

   further described in Attachment A-2; and,

                c.    A 2017 blue Honda Civic bearing California

   license plate 8TEA232 registered to RODRIGUEZ (the “SUBJECT

   VEHICLE”), as further described in Attachment A-3.

          3.    As described further in Attachment B, the requested

   warrants seek authorization to seize evidence, fruits, and

   instrumentalities, of violations of 18 U.S.C. § 2251 (production

   and/or attempted production of child pornography), 18 U.S.C.

   § 2252A(a)(2) (distribution or receipt of child pornography),

   and 18 U.S.C. § 2252A(a)(5)(B) (possession of child pornography)
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             28  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1515
                                                                                #:28of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:15
                                                #:87


   (collectively, the “SUBJECT OFFENSES”).             Attachments A-1, A-2,

   A-3, and B are attached hereto and incorporated herein by

   reference.

          4.    The facts set forth in this affidavit are based upon

   my personal observations, my training and experience, and

   information obtained from various law enforcement personnel and

   witnesses.     This affidavit is intended to show merely that there

   is sufficient probable cause for the requested warrant and does

   not purport to set forth all of my knowledge of or investigation

   into this matter.       Unless specifically indicated otherwise, all

   conversations and statements described in this affidavit are

   related in substance and in part only.

               III. BACKGROUND OF SPECIAL AGENT DEREK R. BAKER

          5.    I am currently assigned to the HSI Los Angeles Child

   Exploitation Task Force, where I investigate criminal violations

   relating to child exploitation and child pornography, illegal

   production, distribution, receipt and possession of child

   pornography, in violation of 18 U.S.C. §§ 2252A and the SUBJECT

   OFFENSES.     I have received training in the area of child

   pornography and child exploitation offenses and have observed

   and reviewed various examples of child pornography in all forms

   of media, including computer media.

          6.    I have participated in the execution of numerous

   search warrants, many of which involved child exploitation

   and/or child pornography offenses, including those relating to

   subjects who use the Internet and two-way communication devices,

   such as cellular telephones, to entice or coerce minors to


                                               2
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             29  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1616
                                                                                #:29of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:16
                                                #:88


   engage in sexually explicit conduct.            I make this affidavit

   based upon my personal knowledge and experience, my review of

   pertinent documentation, and discussions with other law

   enforcement officers.

          7.    Through both my training and my experience, I have

   become familiar with the methods of operation used by people who

   commit offenses involving the sexual exploitation of children.

   I have attended training classes concerning computer crimes and

   the sexual exploitation of children on the Internet.                This

   training has given me an understanding of how people involved

   with offenses relating to the sexual exploitation of children

   use the Internet to further those offenses.              My experience in

   investigations in this regard has supplemented my understanding

   of how people involved in offenses related to the sexual

   exploitation of children use the Internet to further those

   offenses.

      IV. BACKGROUND ON CHILD EXPLOITATION OFFENSES, COMPUTERS, THE
                       INTERNET, AND DEFINITION OF TERMS

          8.    Based upon my training and experience in the

   investigation of child pornography offenses, and information

   related to me by other law enforcement officers involving the

   investigation of child pornography offenses, I know the

   following information about the use of computer with child

   pornography:

                a.    Computers and Child Pornography.           Computers and

   computer technology have revolutionized the way in which child

   pornography is produced, distributed, and utilized.                Child



                                               3
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             30  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1717
                                                                                #:30of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:17
                                                #:89


   pornographers can now produce both still and moving images

   directly from a common video camera and can convert these images

   into computer-readable formats.           The use of digital technology

   has enabled child pornographers to electronically receive,

   distribute, and possess large numbers of child exploitation

   images and videos with other Internet users worldwide.

                b.     File Storage.     Computer users can choose their

   method of storing files: either on a computer’s hard drive, an

   external hard drive, a memory card, a USB thumb drive, a smart

   phone or other digital media device, etc. (i.e., “locally”) or

   on virtual servers accessible from any digital device with an

   Internet connection (i.e., “cloud storage”).              Computer users

   frequently transfer files from one location to another, such as

   from a phone to a computer or from cloud storage to an external

   hard drive.       Computer users also often create “backup,” or

   duplicate, copies of their files.           In this way, digital child

   pornography is extremely mobile and such digital files are

   easily reproduced and transported.              For example, with the click

   of a button, images and videos containing child pornography can

   be put onto external hard drives small enough to fit onto a

   keychain.     Just as easily, these files can be copied onto

   compact disks and/or stored on mobile digital devices, such as

   smart phones and tablets.         Furthermore, even if the actual child

   pornography files are stored on a “cloud,” files stored in this

   manner can only be accessed via a digital device.               Therefore,

   viewing this child pornography would require a computer,




                                               4
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             31  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1818
                                                                                #:31of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:18
                                                #:90


   smartphone, tablet, or some other digital device that allows the

   user to access and view files on the Internet.

                c.    Internet.     The term “Internet” is defined as the

   worldwide network of computers -- a noncommercial, self-

   governing network devoted mostly to communication and research

   with roughly 500 million users worldwide.             The Internet is not

   an online service and has no real central hub.              It is a

   collection of tens of thousands of computer networks, online

   services, and single user components.            In order to access the

   Internet, an individual computer user must use an access

   provider, such as a university, employer, or commercial Internet

   Service Provider(s) (“ISP(s)”), which operates a host computer

   with direct access to the Internet.

                d.    Internet Service Providers.         Individuals and

   businesses obtain access to the ISPs.            ISPs provide their

   customers with access to the Internet using telephone or other

   telecommunications lines; provide Internet e-mail accounts that

   allow users to communicate with other Internet users by sending

   and receiving electronic messages through the ISPs’ servers;

   remotely store electronic files on their customer’s behalf; and

   may provide other services unique to each particular ISP.                 ISPs

   maintain records pertaining to the individuals or businesses

   that have subscriber accounts with them.             Those records often

   include identifying and billing information, account access

   information in the form of log files, e-mail transaction

   information, posting information, account application




                                               5
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             32  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1919
                                                                                #:32of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:19
                                                #:91


   information, and other information both in computer data and

   written record format.

                e.    IP Addresses.      An Internet Protocol address (“IP

   Address”) is a unique numeric address used to connect to the

   Internet.     An IPv4 IP Address is a series of four numbers, each

   in the range 0-255, separated by periods (e.g., 121.56.97.178).

   In simple terms, one computer in a home may connect directly to

   the Internet with an IP Address assigned by an ISP.                What is now

   more typical is that one home may connect to the Internet using

   multiple digital devices simultaneously, including laptops,

   tablets, smart phones, smart televisions, and gaming systems, by

   way of example.       Because the home subscriber typically only has

   one Internet connection and is only assigned one IP Address at a

   time by their ISP, multiple devices in a home are connected to

   the Internet via a router or hub.           Internet activity from every

   device attached to the router or hub is utilizing the same

   external IP Address assigned by the ISP.             The router or hub

   “routes” Internet traffic so that it reaches the proper device.

   Most ISPs control a range of IP Addresses.             The IP Address for a

   user may be relatively static, meaning it is assigned to the

   same subscriber for long periods of time, or dynamic, meaning

   that the IP Address is only assigned for the duration of that

   online session.       Most ISPs maintain records of which subscriber

   was assigned which IP Address during an online session.

                f.    IP Address – IPv6.       Due to the limited number of

   available IPv4 IP addresses, a new protocol was established

   using the hexadecimal system to increase the number of unique IP


                                               6
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             33  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2020
                                                                                #:33of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:20
                                                #:92


   addresses.     An IPv6 consists of eight sets of combination of

   four numbers 0-9 and/or letters A through F.              An example of an

   IPv6 IP address is 2001:0db8:0000:0000:0000:ff00:0042:8329.

                g.    The following definitions:

                      i.    “Child erotica,” as used herein, means

   materials or items that are sexually arousing to persons having

   a sexual interest in minors but that are not necessarily obscene

   or do not necessarily depict minors engaging in sexually

   explicit conduct.

                      ii.   “Child pornography,” as defined in 18 U.S.C.

   § 2256(8), is any visual depiction, including any photograph,

   film, video, picture, or computer or computer-generated image or

   picture, whether made or produced by electronic, mechanical or

   other means, of sexually explicit conduct, where: (a) the

   production of the visual depiction involved the use of a minor

   engaged in sexually explicit conduct; (b) the visual depiction

   is a digital image, computer image, or computer-generated image

   that is, or is indistinguishable from, that of a minor engaged

   in sexually explicit conduct; or (c) the visual depiction has

   been created, adapted, or modified to appear that an

   identifiable minor is engaged in sexually explicit conduct.

                      iii. “Cloud-based storage,” as used herein, is a

   form of digital data storage in which the digital data is stored

   on remote servers hosted by a third party (as opposed to, for

   example, on a user’s computer or other local storage device) and

   is made available to users over a network, typically the

   Internet. Users of such a service can share links and associated



                                               7
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             34  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2121
                                                                                #:34of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:21
                                                #:93


   passwords to their stored files with other traders of child

   pornography in order to grant access to their collections. Such

   services allow individuals to easily access these files through

   a wide variety of electronic devices such as desktop and laptop

   computers, mobile phones, and tablets, anywhere and at any time.

   An individual with the password to a file stored on a cloud-

   based service does not need to be a user of the service to

   access the file. Access is typically free and readily available

   to anyone who has an Internet connection.

                      iv.   “Computer,” as used herein, refers to “an

   electronic, magnetic, optical, electrochemical, or other high

   speed data processing device performing logical or storage

   functions, and includes any data storage facility or

   communications facility directly related to or operating in

   conjunction with such device” and includes smartphones, other

   mobile phones, and other mobile devices. See 18 U.S.C.

   § 1030(e)(1).

                      v.    “Computer hardware,” as used herein,

   consists of all equipment that can receive, capture, collect,

   analyze, create, display, convert, store, conceal, or transmit

   electronic, magnetic, or similar computer impulses or data.

   Computer hardware includes any data-processing devices

   (including central processing units, internal and peripheral

   storage devices such as fixed disks, external hard drives,

   “thumb,” “jump,” or “flash” drives, which are small devices that

   are plugged into a port on the computer, and other memory

   storage devices); peripheral input/output devices (including



                                               8
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             35  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2222
                                                                                #:35of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:22
                                                #:94


   keyboards, printers, video display monitors, and related

   communications devices such as cables and connections); as well

   as any devices, mechanisms, or parts that can be used to

   restrict access to computer hardware (including physical keys

   and locks).

                      vi.   “Computer software,” as used herein, is

   digital information which can be interpreted by a computer and

   any of its related components to direct the way they work.

   Computer software is stored in electronic, magnetic, or other

   digital form. It commonly includes programs to run operating

   systems, applications, and utilities.

                      vii. “Computer passwords and data security

   devices,” as used herein, consist of information or items

   designed to restrict access to or hide computer software,

   documentation, or data. Data security devices may consist of

   hardware, software, or other programming code. A password (a

   string of alpha-numeric characters) usually operates what might

   be termed a digital key to “unlock” particular data security

   devices. Data security hardware may include encryption devices,

   chips, and circuit boards. Data security software may include

   programming code that creates “test” keys or “hot” keys, which

   perform certain pre-set security functions when touched. Data

   security software or code may also encrypt, compress, hide, or

   “booby-trap” protected data to make it inaccessible or unusable,

   as well as reverse the process to restore it.




                                               9
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             36  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2323
                                                                                #:36of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:23
                                                #:95


                      viii.        “Encryption” is the process of

   converting data into a code in order to prevent unauthorized

   access to the data.

                      ix.     The “Internet” is a global network of

   computers and other electronic devices that communicate with

   each other. Due to the structure of the Internet, connections

   between devices on the Internet often cross state and

   international borders, even when the devices communicating with

   each other are in the same state.

                      x.      “Log files” are records automatically

   produced by computer programs to document electronic events that

   occur on computers. Computer programs can record a wide range of

   events including remote access, file transfers, logon/logoff

   times, and system errors. Logs are often named based on the

   types of information they contain. For example, web logs contain

   specific information about when a website was accessed by remote

   computers; access logs list specific information about when a

   computer was accessed from a remote location; and file transfer

   logs list detailed information concerning files that are

   remotely transferred.

                      xi.     “Minor,” as defined in 18 U.S.C. § 2256(1),

   refers to any person under the age of eighteen years.

                      xii. “Mobile applications,” as used herein, are

   small, specialized programs downloaded onto mobile devices that

   enable users to perform a variety of functions, including

   engaging in online chat, reading a book, or playing a.




                                              10
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             37  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2424
                                                                                #:37of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:24
                                                #:96


                      xiii.        “Records,” “documents,” and

   “materials,” as used herein, include all information recorded in

   any form, visual or aural, and by any means, whether in

   handmade, photographic, mechanical, electrical, electronic, or

   magnetic form.

                      xiv. “Sexually explicit conduct,” as defined in

   18 U.S.C. § 2256(2), means actual or simulated (a) sexual

   intercourse, including genital-genital, oral-genital, anal-

   genital, or oral-anal, whether between persons of the same or

   opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or

   masochistic abuse; or (e) lascivious exhibition of the anus,

   genitals, or pubic area of any person.

                      xv.     A “storage medium” or “storage device” is

   any physical object upon which computer data can be recorded.

   Examples include hard disks, RAM, floppy disks, “thumb,” “jump,”

   or “flash” drives, CD-ROMs, and other magnetic or optical media.

                      xvi. “Visual depiction,” as defined in 18 U.S.C.

   § 2256(5), includes undeveloped film and videotape, data stored

   on computer disc or other electronic means which is capable of

   conversion into a visual image, and data which is capable of

   conversion into a visual image that has been transmitted by any

   means, whether or not stored in a permanent format.

                      xvii.        A “Website” consists of textual pages

   of information and associated graphic images. The textual

   information is stored in a specific format known as Hyper-Text

   Mark-up Language (HTML) and is transmitted from web servers to

   various web clients via Hyper-Text Transport Protocol (HTTP).



                                              11
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             38  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2525
                                                                                #:38of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:25
                                                #:97


                          V. SUMMARY OF PROBABLE CAUSE

          9.    On or about July 12, 2021, I received information from

   the National Center for Missing and Exploited Children (“NCMEC”)

   regarding CyberTipline Report 94619315 (the “CyberTip”) which

   identified a user who uploaded child pornography files using

   their Google account.

          10.   The CyberTip contained the IP addresses captured by

   Google at the time of login and during upload of the various

   child pornography files.         The return of legal process show the

   IP addresses resolved to the SUBJECT PREMISES.              Records show

   RODRIGUEZ currently resides at the SUBJECT PREMISES.

          11.   On or about August 6, 2021, I obtained a federal

   search warrant from the Honorable Maria A. Audero, in case

   number 2:21-mj-3616, for RODRIGUEZ’s Google account primarily

   based on the information obtained from the CyberTip and Google’s

   log information.       Shortly thereafter, law enforcement executed

   the 2:21-mj-3616 search warrant on RODRIGUEZ’s Google account

   which showed that several child pornography files were in his

   account and according to IP address information, those files

   were uploaded from the SUBJECT PREMISES.             As set forth below in

   more detail, I believe there is probable cause to search the

   SUBJECT PREMISES, RODRIGUEZ’s person (the registered owner of

   the SUBJECT ACCOUNT and the apparent resident of the SUBJECT

   PREMISES), and RODRIGUEZ’s registered vehicle, the SUBJECT

   VEHICLE, for evidence related to the SUBJECT OFFENSES.


                                              12
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             39  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2626
                                                                                #:39of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:26
                                                #:98


                         VI. STATEMENT OF PROBABLE CAUSE

          12.   I learned the following information from my review of

   the CyberTip and information found from publicly available and

   law enforcement databases:

          A.    Identification of the Account

          13.   On or about July 7, 2021, at approximately 3:32 a.m.

   Universal Coordinated Time (“UTC”), NCMEC received information

   from Google (the “PROVIDER”) reporting that 18 files containing

   and/or associated with suspected child pornography were uploaded

   by an individual using the account stevoevil22@gmail.com (the

   “SUBJECT ACCOUNT”).        The PROVIDER provided NCMEC with basic

   subscriber information for the SUBJECT ACCOUNT.

          14.   According to the PROVIDER, the subscriber of the

   SUBJECT ACCOUNT is registered to “Steve Rodriguez,” registered

   with phone number (626) 392-8852 (the “-8852 Number”), verified 1

   on January 25, 2016, at 7:30 a.m. UTC.

          15.   The PROVIDER also indicated they had captured EXIF 2

   data from two (2) of the 18 files.           The EXIF data captured by

   the PROVIDER indicated both of the files were captured using an

   LG Electronics device, model LG-LS993 (which is more commonly


        1 According to the PROVIDER, phone number(s) are provided by
   the account holder. “Verified” indicates the account holder
   responded to a request by the PROVIDER to confirm the phone
   number is valid/correct.
          EXIF is abbreviated for exchangeable image file format,
          2
   which is data contained withing the file, and can contain
   specific information about that file, including, but not limited
   to, the camera make/model and date the file was created.

                                              13
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed12-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             40  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  2727
                                                                                #:40of 44
                                                                                       of
                                    44Page
                                        Page
                                           IDID
                                              #:27
                                                #:99


   known as a “G6”) and on the same date/time, which was January 1,

   2018, at 4:09 a.m., however the exact time zone was not

   indicated.      I know this information to mean the data contained

   within the file is providing information that potentially help

   in identifying the physical device which produced the child

   pornography files.       This EXIF data for two of the files uploaded

   into the SUBJECT ACCOUNT appears to match data from RODRIGUEZ’s

   registered cellphone at the time.           These two still images appear

   to depict a Caucasian female, approximately 5-9 years old (“MV

   #1”).       MV #1’s face is clearly visible in the images, and she

   appears to have a colostomy bag attached to her abdomen. 3

           16.    On or about August 17, 2021, I have reviewed at least

   eight (8) videos stored on the SUBJECT ACCOUNT as obtained from

   the PROVIDER, and they depict suspected child pornography as

   defined in 18 U.S.C. § 2256.          During my review of the SUBJECT

   ACCOUNT, I saw at least three (3) videos involving MV #1.                 Two

   of these videos appear to depict RODRIGUEZ engaging in oral




          These two still images of MV #1 may contain child
           3
   pornography; however, the government is not relying on these two
   images to establish probable cause that defendant possessed or
   produced child pornography in the instant search warrant. The
   government mentions these images and MV #1 to demonstrate that
   there is independent probable cause to search a LG G6 cellphone
   associated with RODRIGUEZ, which may have been used to capture
   and/or store images or videos of child pornography or of minor
   victims. These images will be referred to as (“IMAGE #1” and
   “IMAGE #2”).

                                              14
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              41  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  2828
                                                                                 #:41of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:28
                                                #:100


    copulation with what appears to be MV #1. 4            During two of the

    videos of apparent child pornography, which I believe depicts

    RODRIGUEZ performing oral sex on MV #1, you can see MV #1’s

    colostomy bag in the video.

          17.   The PROVIDER included information in the CyberTip,

    which showed the previous IP addresses captured at the time the

    uploads occurred using the SUBJECT ACCOUNT.             I know this

    information can show me where the user was physically located,

    by address, when the user uploaded the child pornography files.

    I know through my training and experience that when a person

    engages in the SUBJECT OFFENSES, it typically occurs in a place

    where the person can conceal their actions or conduct.

          18.   A search of publicly available and law enforcement

    databases of “Steve Rodriguez” and the SUBJECT PREMISES

    indicates that a 37-year-old “Steve Jackson Rodriguez” is

    associated with the SUBJECT PERMISES.
          B.    Description of Additional Files Uploaded Using the
                Subject Account

          19.   In the CyberTip, the PROVIDER indicated 18 files

    containing or associated with child pornography were uploaded

    using the SUBJECT ACCOUNT.         The CyberTip also specifically

    stated at least some of the uploaded child pornography files




          4I identified RODRIGUEZ based on a comparison with other
    images contained in the SUBJECT ACCOUNT and his DMV photograph,
    and I identified MV #1 based on a comparison of the victim in
    IMAGE #1, IMAGE #2 and the two videos depicting RODRIGUEZ and MV
    #1 mentioned above.

                                              15
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              42  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  2929
                                                                                 #:42of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:29
                                                #:101


    “appear unfamiliar and may depict newly produced content,” which

    can mean the files had not been previously identified to NCMEC.

            20.   I have reviewed the 15 files which had been previously

    viewed by the PROVIDER, among others later provided from the

    search of the SUBJECT ACCOUNT.          The following are descriptions

    of two files that I have reviewed from the SUBJECT ACCOUNT which

    depict suspected child pornography as defined in 18 U.S.C. §

    2256:

                  a.   “report_11626601965411693084.jpg” (“IMAGE #3”)

    which is an image file and appears to depict a Caucasian female,

    approximately 5-7 years old, laying on her back with her vagina

    exposed while engaging in what appears to be anal sex with what

    appears to be an adult male penis.

                  b.   “report_14309050322603975612.jpg” (“IMAGE #4”)

    which is an image file and appears to depict a Caucasian female,

    approximately 4-6 years old, with her hand holding what appears

    to be an adult male penis, which appears to be touching her

    face.

            C.    Identification of the User

            21.   On or about July 12, 2021, I searched for and located

    the following information using Accurint 5:

                  a.   A search of the -8852 Number produced a result

    for “Steve Rodriguez,” a full social security number ending in -

    3105 (“RODRIGUEZ’s SS NUMBER”), and information that this person




           A for-pay service which can help to identify people,
            5
    addresses, relatives, businesses, vehicles and other information
    by providing a comprehensive database of public records.

                                              16
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              43  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3030
                                                                                 #:43of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:30
                                                #:102


    was associated with the SUBJECT PREMISES from March 2020 through

    at least July 2020.

                b.    A search of RODRIGUEZ’s SS NUMBER showed

    RODRIGUEZ’s birth date as March 25, 1984, and records indicated

    that RODRIGUEZ’s SS NUMBER was associated with the SUBJECT

    PREMISES from March 2020 through at least July 2021.

          22.   California Department of Motor Vehicles (“DMV”)

    records for “Steve Rodriguez” with a birthdate March 25, 1984,

    showed RODRIGUEZ is registered with the DMV with a current

    registered address of the SUBJECT PREMISES since at least on or

    about April 24, 2021.        DMV records also include an image of

    RODRIGUEZ, which I have viewed.          RODGIRUGEZ appeared to be a

    Hispanic male whom according to the record, is approximately

    5’08” tall and weighs 158 pounds.           I and other law enforcement

    officers who execute this search warrant will be able to

    identify RODRIGUEZ in part based on this DMV photo which I and

    others have viewed before we execute the warrant.

          23.   Using the information provided in the CyberTip, I

    conducted further investigation into the SUBJECT ACCOUNT and

    discovered the following:

                a.    IP address 47.149.10.108 (“SUBJECT IP ADDRESS

    #1”) was the IP address captured at login (approximately July 4,

    2021, at 10:16 p.m. UTC) and when the user of the SUBJECT

    ACCOUNT uploaded IMAGE #1 (approximately December 6, 2020, at

    9:07 p.m. UTC). Frontier Communications Corporation owns SUBJECT

    IP ADDRESS #1.      On July 15, 2021, I received information from

    Frontier Communications for SUBJECT IP ADDRESS #1 which showed



                                              17
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              44  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3131
                                                                                 #:44of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:31
                                                #:103


    that SUBJECT IP ADDRESS #1 was assigned to a Frontier

    Communications account in RODRIGUEZ’s name on the relevant

    dates.    The Frontier Communication account in RODRIGUEZ’s name

    lists the SUBJECT PREMISES as the account address and the

    SUBJECT ACCOUNT as its contact email address.

                b.    IP address

    2607:fb90:21cb:8952:dcaf:31a8:8c79:f31f was the IP address

    captured when the user uploaded IMAGE #2 (approximately June 21,

    2020 at 6:15 p.m. UTC).        T-Mobile owns this IP address; however,

    without certain identifying information not contained in the

    CyberTip, I would be unable to determine the subscriber for this

    IP address during the time of upload.

                c.    IP address 47.149.20.114 (“SUBJECT IP ADDRESS

    #2”) was the IP address captured when the user uploaded IMAGE #3

    (approximately May 28, 2020, at 7:56 p.m. UTC) and IMAGE #4

    (approximately August 15, 2020, at 9:52 p.m. UTC).               On or about

    July 22, 2021, I received information from Frontier

    Communications for SUBJECT IP ADDRESS #2, which showed SUBJECT

    IP ADDRESS #2 was assigned to a Frontier Communications account

    in RODRIGUEZ’s name.       The Frontier Communication account in

    RODRIGUEZ’s name lists the SUBJECT PREMISES as the account

    address on the relevant dates.

                d.    According to a search of law enforcement and

    public databases, T-Mobile is the phone provider for the -8852

    Number, which is the mobile phone number registered with the

    PROVIDER.




                                              18
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              45  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3232
                                                                                 #:45of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:32
                                                #:104


                      i.     On or about July 22, 2021, I received

    information from T-Mobile, which showed RODRIGUEZ’s billing

    address was the SUBJECT PREMISES.           Additionally, T-Mobile

    provided device information for the period indicated in the

    captured EXIF data (January 1, 2018).

                      ii.    According to T-Mobile records, RODRIGUEZ

    used a device with electronic serial number (“ESN”)

    089451725600202258, which was used from April 10, 2017, through

    May 5, 2019.

                      iii. I used a general Internet search for a

    website that allows the status check of any ESN and saw the ESN

    belonged to a LG G6.       According to the EXIF data provided by

    NCMEC in the CyberTip, an LG G6 is make/model of device that

    appears to have been used to create two of the suspected child

    pornography files uploaded by the SUBJECT ACCOUNT.

                e.    On or about July 21, 2021, I received information
    from the California Employment Development Department which

    showed RODRIGUEZ had provided the SUBJECT PREMISES as his

    address since July 24, 2018, and provided the -8852 Number as

    his phone number.

          24.   On or about August 3, 2021, at approximately 12:00

    p.m. local time, I arrived at the SUBJECT PREMISES and saw a

    blue Honda Civic bearing California license plate 8TEA232 (the

    “SUBJECT VEHICLE”) parked on the street directly in front of the




                                              19
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              46  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3333
                                                                                 #:46of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:33
                                                #:105


    SUBJECT PREMISES.      According to DMV information, this vehicle is

    registered to RODRIGUEZ at the SUBJECT PREMSES.

          25.   On or about August 6, 2021, the Honorable Maria

    Audero, United States Magistrate Judge in the Central District

    of California signed the search warrant (21-mj-3616) for the

    SUBJECT ACCOUNT.

          26.   On or about the same date, I served the PROVIDER with

    the search warrant.       On or about August 11, 2021, the PROVIDER

    produced files in response to the search warrant.

          27.   I reviewed some of the files produced by the PROVIDER.

    The files I reviewed included additional child pornography files

    uploaded to RODRIGUEZ’s account.          Additionally, I reviewed

    videos contained within the SUBJECT ACCOUNT that appeared to

    depict RODRIGUEZ, as I recognized him from the previously viewed

    photograph retained by the DMV, and at least one video which

    appeared to show a Hispanic male bearing a likeness to

    RODRIGUEZ, in/around a blue Honda vehicle that appeared to match

    the SUBJECT VEHICLE.

          28.   On or about August 18, 2021, from 6:00 a.m. through

    approximately 11:30 a.m. local time, SA Paul Radlinski and I

    conducted surveillance at the SUBJECT PREMISES and saw the

    SUBJECT VEHICLE park in front of the SUBJECT PREMISES at

    approximately 8:40 a.m.        Shortly thereafter, a Hispanic male I

    recognized as RODRIGUEZ exited the driver’s seat, and enter the

    front door after appearing to unlock it.            At approximately 11:30

    a.m., RODRIGUEZ exited the SUBJECT PREMISES through the front

    door, entered the SUBJECT VEHICLE, and left the area.



                                              20
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              47  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3434
                                                                                 #:47of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:34
                                                #:106


    VII. TRAINING & EXPERIENCE ON INDIVIDUALS WITH A SEXUAL INTEREST
                                 IN CHILDREN

          29.   Based on my training and experience, and the training

    and experience of other law enforcement officers with whom I

    have had discussions, I have learned that individuals who view

    and possess multiple images of child pornography are often

    individuals who have a sexual interest in children and in images

    of children, and that there are certain characteristics common

    to such individuals:

                a.    Individuals who have a sexual interest in

    children or images of children may receive sexual gratification,

    stimulation, and satisfaction from contact with children; or

    from fantasies they may have viewing children engaged in sexual

    activity or in sexually suggestive poses, such as in person, in

    photographs, or in other visual media, or from literature

    describing such activity.         These individuals often maintain

    possession of these items for long periods of time and keep

    their collections in numerous places – in digital devices in

    their homes, in their cars, in their workplaces, or on their

    persons.

                b.    Individuals who have a sexual interest in

    children or images of children also may correspond with and/or

    meet others to share information and materials (including

    through digital distribution via the Internet); conceal such

    correspondence as they do their sexually explicit material; and

    often maintain lists of names, addresses, and telephone numbers

    of individuals with whom they have been in contact and who share



                                              21
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              48  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3535
                                                                                 #:48of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:35
                                                #:107


    the same interests in child pornography.            These individuals

    often maintain possession of these items for long periods of

    time.

            30.    If an individual produces an image of child

    pornography on a digital device, law enforcement can often

    obtain evidence of this production if they are to seize and

    search the digital device itself, even if the image is no longer

    stored on the digital device.

            31.     Digital child pornography on a digital device is easy

    to maintain for long periods of time.            Modern digital devices

    often have extremely large storage capacities.              Furthermore,

    cheap and readily available storage devices, such as thumb

    drives, external hard drives, and compact discs make it simple

    for individuals with a sexual interest in children to download

    child pornography from the Internet and save it – simply and

    securely – so it can be accessed or viewed indefinitely.

            32.    Furthermore, even if a person deleted any images of

    child pornography that may have been possessed or distributed,

    there is still probable cause to believe that there will be

    evidence of the illegal activities – that is, the possession,

    receipt, and/or distribution of child pornography – at the

    SUBJECT PREMISES, in the SUBJECT VEHICLE, or on RODRIGUEZ’s

    person.       Based on my training and experience, as well as my

    conversations with digital forensic experts, I know that

    remnants of such files can be recovered months or years after

    they have been deleted from a computer device.              Evidence that

    child pornography files were downloaded and viewed can also be



                                              22
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              49  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3636
                                                                                 #:49of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:36
                                                #:108


    recovered, even after the files themselves have been deleted,

    using forensic tools.        Because remnants of the possession,

    distribution, and viewing of child pornography is recoverable

    after long periods of time, searching the SUBJECT PREMISES,

    SUBJECT VEHICLE, and RODRIGUEZ’s person could lead to evidence

    of the child exploitation offenses.

                        VIII.       BACKGROUND ON CYBERTIPS

          33.   CyberTipline Report. NCMEC was established in 1984 as

    a private, nonprofit 501(c)(3) organization.              NCMEC provides

    services nationwide for families and professionals in the

    prevention of abducted, endangered, and sexually exploited

    children.    Pursuant to its mission and its congressional

    authorization (see 42 U.S.C. § 5773), NCMEC operates the

    CyberTipline and the Child Victim Identification Program to

    assist law enforcement in identifying victims of child

    pornography and child sexual exploitation.             NCMEC works with law

    enforcement, Internet service providers, electronic payment

    service providers, and others to reduce the distribution of

    child sexual exploitation images and videos over the Internet.

    NCMEC’s CyberTipline is the nation’s centralized reporting

    system for the online exploitation of children.              The public and

    electronic service providers can make reports of suspected

    online enticement of children for sexual acts, extra-familial

    child sexual molestation, child pornography, child sex tourism,

    child sex trafficking, unsolicited obscene materials sent to a

    child, misleading domain names, and misleading words or digital

    images on the internet.        NCMEC does not investigate and cannot


                                              23
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              50  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3737
                                                                                 #:50of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:37
                                                #:109


    verify the accuracy of information reported to NCMEC.                NCMEC

    forwards the reports of child sexual exploitation to law

    enforcement for purposes of investigation and disposition of

    potential criminal wrongdoing to be determined solely by the

    relevant law enforcement agency and prosecutor's office.                 As

    part of the CyberTipline program, internet service providers

    that identify suspected child exploitation material on their

    systems may send a report to NCMEC.            The reports contain

    information such as the account name, name, telephone number,

    and ISP address associated with an individual who uploaded

    suspected child exploitation material.            The CyberTipline reports

    also indicate whether the provider viewed the suspected child

    exploitation material.

                       IX. TRAINING & EXPERIENCE ON GOOGLE

          34.   Based on a review of information provided by Google

    regarding its services, information provided by other law

    enforcement officers, and/or my training and experience, I am

    aware of the following:

                a.    Google provides numerous free services to users

    with a Google account. These services include Gmail, Google

    Drive, and Google Photos. Gmail is a web-based email service.

    Google Drive is a file storage and synchronization service which

    provides users with cloud storage, file sharing, and

    collaborative editing.        Google Photos is an image hosting and

    sharing web service that allows users with a Google account to




                                              24
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              51  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3838
                                                                                 #:51of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:38
                                                #:110


    store and share images for free.          The username for a Google

    account is the email address linked to the account.

                b.    In my training and experience, I have learned

    that providers of e-mail and/or social media services offer a

    variety of online services to the public.             Subscribers obtain an

    account by registering with Google.            In my training and

    experience, e-mail and social media providers generally ask

    their subscribers to provide certain personal identifying

    information when registering for an e-mail or social media

    account.    Such information can include the subscriber’s full

    name, physical address, telephone numbers and other identifiers,

    alternative e-mail addresses, and, for paying subscribers, means

    and source of payment (including any credit or bank account

    number).    In my training and experience, e-mail and social media

    providers typically retain certain transactional information

    about the creation and use of each account on their systems.

    This information can include the date on which the account was

    created, the length of service, records of login (i.e., session)

    times and durations, the types of service utilized, the status

    of the account (including whether the account is inactive or

    closed), the methods used to connect to the account (such as

    logging into the account via the provider’s website), and other

    log files that reflect usage of the account.

                c.    In addition, e-mail and social media providers

    often have records of the Internet Protocol (“IP”) address used

    to register the account and the IP addresses associated with

    particular logins to the account.           Google will send



                                              25
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              52  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  3939
                                                                                 #:52of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:39
                                                #:111


    verifications to a user in order to verify information the user

    lists on their Google account.          The verification typically

    involves a process in which the Electronic Service Provider

    (“ESP”) sends an email, text message, or voice verification to

    the phone number listed and verifies the information when the

    subscriber responds to the ESP’s email, phone call or text

    message.

                 X. TRAINING & EXPERIENCE ON DIGITAL DEVICES 6

          35.   Based on my training, experience, and information from

    those involved in the forensic examination of digital devices, I

    know that the following electronic evidence, inter alia, is

    often retrievable from digital devices:

                a.    A person who connects to the Internet must use a

    computer or mobile device, such as a tablet or wireless

    telephone, to facilitate that access.            Furthermore, in my

    training and experience, these devices typically travel with a

    subject or remain in SUBJECT PREMISES or in the subject’s

    vehicle.    It is therefore reasonable to believe that computers,

    tablets, wireless telephones, and other electronic storage media

    may be present in SUBJECT PREMISES, on RODRIGUEZ’s person, or in

    the SUBJECT VEHICLE.       Further, because it is possible to store


          6As used herein, the term “digital device” includes any
    electronic system or device capable of storing or processing
    data in digital form, including central processing units;
    desktop, laptop, notebook, and tablet computers; personal
    digital assistants; wireless communication devices, such as
    paging devices, mobile telephones, and smart phones; digital
    cameras; gaming consoles; peripheral input/output devices, such
    as keyboards, printers, scanners, monitors, and drives; related
    communications devices, such as modems, routers, cables, and
    connections; storage media; and security devices.

                                              26
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              53  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  4040
                                                                                 #:53of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:40
                                                #:112


    certain mobile devices, such as removable storage media and

    wireless telephones, in a pocket, it is reasonable to believe

    that mobile devices may be found on RODRIGUEZ’s person or in any

    place a small item can fit.

                b.    Forensic methods may uncover electronic files or

    remnants of such files months or even years after the files have

    been downloaded, deleted, or viewed via the Internet.                Normally,

    when a person deletes a file on a computer, the data contained

    in the file does not disappear; rather, the data remain on the

    hard drive until overwritten by new data, which may only occur

    after a long period of time.         Similarly, files viewed on the

    Internet are often automatically downloaded into a temporary

    directory or cache that are only overwritten as they are

    replaced with more recently downloaded or viewed content and may

    also be recoverable months or years later.

                c.    Digital devices often contain electronic evidence

    related to a crime, the device’s user, or the existence of

    evidence in other locations, such as, how the device has been

    used, what it has been used for, who has used it, and who has

    been responsible for creating or maintaining records, documents,

    programs, applications, and materials on the device.                That

    evidence is often stored in logs and other artifacts that are

    not kept in places where the user stores files, and in places

    where the user may be unaware of them.            For example, recoverable

    data can include evidence of deleted or edited files; recently

    used tasks and processes; online nicknames and passwords in the

    form of configuration data stored by browser, e-mail, and chat



                                              27
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              54  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  4141
                                                                                 #:54of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:41
                                                #:113


    programs; attachment of other devices; times the device was in

    use; and file creation dates and sequence.

                d.    The absence of data on a digital device may be

    evidence of how the device was used, what it was used for, and

    who used it.     For example, showing the absence of certain

    software on a device may be necessary to rebut a claim that the

    device was being controlled remotely by such software.

                e.    Digital device users can also attempt to conceal

    data by using encryption, steganography, or by using misleading

    filenames and extensions.         Digital devices may also contain

    “booby traps” that destroy or alter data if certain procedures

    are not scrupulously followed.          Law enforcement continuously

    develops and acquires new methods of decryption, even for

    devices or data that cannot currently be decrypted.

          36.   Based on my training, experience, and information from

    those involved in the forensic examination of digital devices, I

    know that it is not always possible to search devices for data

    during a search of the premises for a number of reasons,

    including the following:

                a.    Digital data are particularly vulnerable to

    inadvertent or intentional modification or destruction.                Thus,

    often a controlled environment with specially trained personnel

    may be necessary to maintain the integrity of and to conduct a

    complete and accurate analysis of data on digital devices, which

    may take substantial time, particularly as to the categories of

    electronic evidence referenced above.            Also, there are now so

    many types of digital devices and programs that it is difficult



                                              28
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              55  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  4242
                                                                                 #:55of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:42
                                                #:114


    to bring to a search site all of the specialized manuals,

    equipment, and personnel that may be required.

                b.    Digital devices capable of storing multiple

    gigabytes are now commonplace.          As an example of the amount of

    data this equates to, one gigabyte can store close to 19,000

    average file size (300kb) Word documents, or 614 photos with an

    average size of 1.5MB.

          37.   The search warrant requests authorization to use the

    biometric unlock features of the devices seized, based on the

    following, which I know from my training, experience, and review

    of publicly available materials:

                a.    Users may enable a biometric unlock function on

    some digital devices.        To use this function, a user generally

    displays a physical feature, such as a fingerprint, face, or

    eye, and the device will automatically unlock if that physical

    feature matches one the user has stored on the device.                To

    unlock a device enabled with a fingerprint unlock function, a

    user places one or more of the user’s fingers on a device’s

    fingerprint scanner for approximately one second.               To unlock a

    device enabled with a facial, retina, or iris recognition

    function, the user holds the device in front of the user’s face

    with the user’s eyes open for approximately one second.

                b.    In some circumstances, a biometric unlock

    function will not unlock a device even if enabled, such as when

    a device has been restarted or inactive, has not been unlocked

    for a certain period of time (often 48 hours or less), or after

    a certain number of unsuccessful unlock attempts.               Thus, the



                                              29
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED* Document
                                     Document
                              Document 1 Filed12-1*SEALED*
                                                    *SEALED*
                                                08/26/21    Filed
                                                         Page  Filed
                                                              56  08/19/21
                                                                  of 08/19/21
                                                                     71     Page
                                                                         Page  Page
                                                                              ID  4343
                                                                                 #:56of 44
                                                                                        of
                                   44 Page
                                       PageIDID#:43
                                                #:115


    opportunity to use a biometric unlock function even on an

    enabled device may exist for only a short time.              I do not know

    the passcodes of the devices likely to be found in the search.

                c.    As noted above, I know that most homes with

    Internet capability use only one IP address.              That IP address,

    in turn, is often shared by many devices that access the

    Internet using a wireless modem.          Accordingly, if there are

    multiple digital devices discovered during a search of the

    SUBJECT PREMISES, any of those devices could have been used to

    access the Internet and download the files discussed above.

                d.    Thus, if while executing the warrant, law

    enforcement personnel encounter a digital device within the

    scope of the warrant that may be unlocked using one of the

    aforementioned biometric features, the warrant I am applying for

    would permit law enforcement personnel to, with respect to

    RODRIGUEZ, provided he is located in the Central District of

    California during the execution of the search: (1) depress the

    RODRIGUEZ’s thumb- and/or fingers on the device(s); and (2) hold

    the device(s) in front of RODRIGUEZ’s face with his or her eyes

    open to activate the facial-, iris-, and/or retina-recognition

    feature.

          38.   Other than what has been described herein, to my

    knowledge, the United States has not attempted to obtain this

    data by other means.

                                    XI. CONCLUSION

          39.   For all the reasons described above, there is probable

    cause to believe to believe that evidence, fruits, and


                                              30
CaseCase
     2:21-mj-03867-DUTY  *SEALED*
         5:21-cr-00188-JWH         Document
                            Document 1 Filed 2-1 *SEALED*
                                             08/26/21      Filed
                                                      Page 57    08/19/21
                                                              of 71        Page
                                                                     Page ID #:5744 of
                                 44 Page ID #:116


   instrumentalities of violations of 18 U.S.C. § 2252A(a)(2)

   (distribution or receipt of child pornography), and 18 U.S.C.

   § 2252A(a)(5)(B) (possession of child pornography) as described

   in Attachment B, will be found in a search of the SUBJECT

   PREMISES, RODGRIGUEZ, and the SUBJECT VEHICLE.


   Attested to by the applicant in
   accordance with the requirements
   of Fed. R. Crim. P. 4.1 by
   telephone on this ____
                      19th day of
   _________,
    August    2021.



    HE HONORABLE
   THE HO
        ONO
          N RABLE ALKA
                  ALKA SAGAR
                  AL
   UNITED STATES MAGISTRATE JUDGE




                                            31
         CaseCase
              2:21-mj-03867-DUTY  *SEALED*
                  5:21-cr-00188-JWH        Document
                                     Document         2 *SEALED*
                                              1 Filed 08/26/21 PageFiled
                                                                    58 of08/19/21
                                                                          71 PagePage  1 of 14
                                                                                  ID #:58
                                            Page ID #:59
AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means                       տ Original     տ Duplicate Original



                                              UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                     Central District of California

                          In the Matter of the Search of                             )
                  (Briefly describe the property to be searched or identify the      )
                                  person by name and address)                        )      Case No. 2:21-MJ-03867
          Steve Jackson Rodriguez, Date of Birth:                                    )
          03/25/1984, California driver’s license: D2730390                          )
                                                                                     )
                                                                                     )
                                                                                     )

                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

       See Attachment A-2

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

       See Attachment B

       Such affidavit(s) or testimony are incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
            in the daytime 6:00 a.m. to 10:00 p.m.                       at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
            for       days (not to exceed 30)               until, the facts justifying, the later specific date of                                 .


Date and time issued:                August 19, 2021 10:59 a.m.
                                                                                                                 Judge’s
                                                                                                                 Judg e’’s signature

City and state:               Los Angeles, CA                                                  Honorable Alka Sagar, U.S. Magistrate Judge
                                                                                                               Printed name and title

AUSA:             Lara x0427
         CaseCase
              2:21-mj-03867-DUTY  *SEALED*
                  5:21-cr-00188-JWH        Document
                                     Document         2 *SEALED*
                                              1 Filed 08/26/21 PageFiled
                                                                    59 of08/19/21
                                                                          71 PagePage  2 of 14
                                                                                  ID #:59
                                            Page ID #:60
AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (Page 2)
(Page 2)
                                                                              Return
Case No.:                                 Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                          Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                 Executing officer’s signature


                                                                                                    Printed name and title
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed1-1
                                              2 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            60 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 33ofof14
                                                                           ID #:60     14
                                    Page ID #:61
                                            #:47


                                   ATTACHMENT A-2
    PERSON TO BE SEARCHED

          The person to be searched, and the property that is on his

    person, is identified as Steve Jackson Rodriguez, date of birth

    03/25/1984, California driver’s license D2730390, and who is

    approximately 5 foot 8 inches tall.            Steve Jackson Rodriguez’s

    person includes any pockets in his clothing, and any bags or

    other containers carried or held by him or within his immediate

    control and includes the search of any digital devices found,

    provided that Steve Jackson Rodriguez is located within the

    Central District of California at the time of the search.




                                              ii
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed1-1
                                              2 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            61 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 44ofof14
                                                                           ID #:61     14
                                    Page ID #:62
                                            #:48


                                     ATTACHMENT B

    ITEMS TO BE SEIZED

          1.     The items to be seized are evidence, contraband,

    fruits, or instrumentalities of violations of 18 U.S.C. § 2251

    (production and/or attempted production of child pornography),

    18 U.S.C. § 2252A(a)(2) (distribution or receipt of child

    pornography), and 18 U.S.C. § 2252A(a)(5)(B) (possession of

    child pornography) (the “SUBJECT OFFENSES”), namely:

                 a.   Child pornography, as defined in 18 U.S.C.

    § 2256(8).

                 b.   Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    that refer to child pornography, as defined in 18 U.S.C.

    § 2256(8), including but not limited to documents that refer to

    the possession, receipt, distribution, transmission,

    reproduction, viewing, sharing, purchase, or downloading,

    production, shipment, order, requesting, trade, or transaction

    of any kind, involving child pornography.

                 c.   Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    and also including but not limited to financial records, tending

    to identify persons involved in the possession, receipt,

    distribution, transmission, reproduction, viewing, sharing,

    purchase, or downloading, production, shipment, order,

    requesting, trade, or transaction of any kind, involving child

    pornography, as defined in 18 U.S.C. § 2256.




                                              iv
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed1-1
                                              2 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            62 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 55ofof14
                                                                           ID #:62     14
                                    Page ID #:63
                                            #:49


                d.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    that refer or relate to any production, receipt, shipment,

    order, request, trade, purchase, or transaction of any kind

    involving the transmission through interstate commerce by any

    means, including by computer, of any visual depiction of a minor

    engaged in sexually explicit conduct, as defined in 18 U.S.C.

    § 2256.

                e.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    identifying persons transmitting in interstate commerce,

    including by computer, any visual depiction of a minor engaged

    in sexually explicit conduct, as defined in 18 U.S.C. § 2256.

                f.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    that identify any minor visually depicted while engaging in

    sexually explicit conduct, as defined in 18 U.S.C. § 2256.

                g.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, or videos of

    children, even if not child pornography.

                h.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, or videos of

    children, evidencing RODRIGUEZ’s access to children.

                i.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, or videos of

    a colostomy bag, the use of a colostomy bag, or of a child who




                                              v
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed1-1
                                              2 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            63 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 66ofof14
                                                                           ID #:63     14
                                    Page ID #:64
                                            #:50


    has any medical condition that may require the use of a

    colostomy bag.

                j.    Any and all records, documents, programs,

    applications, materials, items, depictions, images, videos, or

    other evidence of MV #1.

                k.    Any and all records, documents, programs,

    applications, or materials or items which are sexually arousing

    to individuals who are interested in minors, but which are not

    in and of themselves obscene or which do not necessarily depict

    minors involved in sexually explicit conduct.             Such material is

    commonly known as “child erotica” and includes written materials

    dealing with child development, sex education, child

    pornography, sexual abuse of children, incest, child

    prostitution, missing children, investigative techniques of

    child exploitation, sexual disorders, pedophilia, nudist

    publications, diaries, and fantasy writings.

                l.    Any and all records, documents, programs,

    applications, materials, items, images, or depictions of

    underwear, lingerie, sex toys, or other items that are commonly

    used in the sexual abuse of children.

                m.    Any records, documents, programs, applications,

    or materials identifying possible minor victims depicted in

    child pornography and/or minor victims of sexual abuse.

                n.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    which pertain to peer-to-peer file sharing software.




                                              vi
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed1-1
                                              2 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            64 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 77ofof14
                                                                           ID #:64     14
                                    Page ID #:65
                                            #:51


                o.    Any records, documents, programs, applications,

    or materials, including electronic mail and electronic messages,

    which pertain to accounts with any Internet Service Provider.

                p.    Any records, documents, programs, applications,

    materials, and files relating to IP addresses 47.149.10.108 and

    47.149.20.114.

                q.    Records, documents, programs, applications,

    materials, and files relating to the deletion, uploading, and/or

    acquisition of victim files to include photographs, videos, e-

    mails, chat logs, or other files.

                r.    Any digital device bearing electronic serial

    number 089451725600202258.

                s.    Any digital device which is an LG G6.

                t.    Any records, documents, programs, applications,

    materials, items, files, or products related to or could be used

    in the production of images, videos, or other depictions of

    child pornography.

                u.    Any records, documents, programs, applications,

    materials, items, files, or products related to or could be used

    in the production of images, videos, or items depicted in any of

    the 18 images of child pornography found in the SUBJECT ACCOUNT.

                v.    Any digital device used to facilitate the above-

    listed violations and forensic copies thereof.

                w.    Any digital device which is itself or which

    contains evidence, contraband, fruits, or instrumentalities of

    the SUBJECT OFFENSES, and forensic copies thereof.




                                             vii
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed1-1
                                              2 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            65 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 88ofof14
                                                                           ID #:65     14
                                    Page ID #:66
                                            #:52


                x.    With respect to any digital device containing

    evidence falling within the scope of the foregoing categories of

    items to be seized:

                      i.     evidence of who used, owned, or controlled

    the device at the time the things described in this warrant were

    created, edited, or deleted, such as logs, registry entries,

    configuration files, saved usernames and passwords, documents,

    browsing history, user profiles, e-mail, e-mail contacts, chat

    and instant messaging logs, photographs, and correspondence;

                      ii.    evidence of the presence or absence of

    software that would allow others to control the device, such as

    viruses, Trojan horses, and other forms of malicious software,

    as well as evidence of the presence or absence of security

    software designed to detect malicious software;

                      iii. evidence of the attachment of other devices;

                      iv.    evidence of counter-forensic programs (and

    associated data) that are designed to eliminate data from the

    device;

                      v.     evidence of the times the device was used;

                      vi.    passwords, encryption keys, biometric keys,

    and other access devices that may be necessary to access the

    device;

                      vii. applications, utility programs, compilers,

    interpreters, or other software, as well as documentation and

    manuals, that may be necessary to access the device or to

    conduct a forensic examination of it;




                                             viii
Case
 CaseCase
     2:21-mj-03867-DUTY
      2:21-mj-03867-DUTY *SEALED*
                          *SEALED*
          5:21-cr-00188-JWH        Document
                                    Document
                             Document 1 Filed1-1
                                              2 *SEALED*
                                                 *SEALED*
                                              08/26/21 PageFiled
                                                            Filed
                                                            66 of08/19/21
                                                                  08/19/21
                                                                  71 PagePage
                                                                           Page 99ofof14
                                                                           ID #:66     14
                                    Page ID #:67
                                            #:53


                      viii.        records of or information about

    Internet Protocol addresses used by the device;

                      ix.     records of or information about the device’s

    Internet activity, including firewall logs, caches, browser

    history and cookies, “bookmarked” or “favorite” web pages,

    search terms that the user entered into any Internet search

    engine, and records of user-typed web addresses.

          2.    As used herein, the terms “records,” “documents,”

    “programs,” “applications,” and “materials” include records,

    documents, programs, applications, and materials created,

    modified, or stored in any form, including in digital form on

    any digital device and any forensic copies thereof.

          3.    As used herein, the term “digital device” includes any

    electronic system or device capable of storing or processing

    data in digital form, including central processing units;

    desktop, laptop, notebook, and tablet computers; personal

    digital assistants; wireless communication devices, such as

    telephone paging devices, beepers, mobile telephones, and smart

    phones; digital cameras; gaming consoles (including Sony

    PlayStations and Microsoft Xboxes); peripheral input/output

    devices, such as keyboards, printers, scanners, plotters,

    monitors, and drives intended for removable media; related

    communications devices, such as modems, routers, cables, and

    connections; storage media, such as hard disk drives, floppy

    disks, memory cards, optical disks, and magnetic tapes used to

    store digital data (excluding analog tapes such as VHS); and

    security devices.



                                              ix
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed21-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             67  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1010
                                                                                #:67of 14
                                                                                       of
                                    14Page
                                        Page
                                           IDID
                                              #:68
                                                #:54


   SEARCH PROCEDURE FOR DIGITAL DEVICES

          4.    In searching digital devices or forensic copies

   thereof, law enforcement personnel executing this search warrant

   will employ the following procedure:

                a.    Law enforcement personnel or other individuals

   assisting law enforcement personnel (the “search team”) will, in

   their discretion, either search the digital device(s) on-site or

   seize and transport the device(s) and/or forensic image(s)

   thereof to an appropriate law enforcement laboratory or similar

   facility to be searched at that location.             The search team shall

   complete the search as soon as is practicable but not to exceed

   120 days from the date of execution of the warrant.                The

   government will not search the digital device(s) and/or forensic

   image(s) thereof beyond this 120-day period without obtaining an

   extension of time order from the Court.

                b.    The search team will conduct the search only by

   using search protocols specifically chosen to identify only the

   specific items to be seized under this warrant.

                      i.    The search team may subject all of the data

   contained in each digital device capable of containing any of

   the items to be seized to the search protocols to determine

   whether the device and any data thereon falls within the list of

   items to be seized.        The search team may also search for and

   attempt to recover deleted, “hidden,” or encrypted data to

   determine, pursuant to the search protocols, whether the data

   falls within the list of items to be seized.




                                               x
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed21-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             68  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1111
                                                                                #:68of 14
                                                                                       of
                                    14Page
                                        Page
                                           IDID
                                              #:69
                                                #:55


                      ii.   The search team may use tools to exclude

   normal operating system files and standard third-party software

   that do not need to be searched.

                      iii. The search team may use forensic examination

   and searching tools, such as “EnCase” and “FTK” (Forensic Tool

   Kit), which tools may use hashing and other sophisticated

   techniques, including to search for known images of child

   pornography.

                c.    The search team will not seize contraband or

   evidence relating to other crimes outside the scope of the items

   to be seized without first obtaining a further warrant to search

   for and seize such contraband or evidence.

                d.    If the search determines that a digital device

   does not contain any data falling within the list of items to be

   seized, the government will, as soon as is practicable, return

   the device and delete or destroy all forensic copies thereof.

                e.    If the search determines that a digital device

   does contain data falling within the list of items to be seized,

   the government may make and retain copies of such data, and may

   access such data at any time.

                f.    If the search determines that a digital device is

   (1) itself an item to be seized and/or (2) contains data falling

   within the list of other items to be seized, the government may

   retain the digital device and any forensic copies of the digital

   device, but may not access data falling outside the scope of the

   other items to be seized (after the time for searching the

   device has expired) absent further court order.



                                              xi
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed21-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             69  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1212
                                                                                #:69of 14
                                                                                       of
                                    14Page
                                        Page
                                           IDID
                                              #:70
                                                #:56


                g.    The government may also retain a digital device

   if the government, prior to the end of the search period,

   obtains an order from the Court authorizing retention of the

   device (or while an application for such an order is pending),

   including in circumstances where the government has not been

   able to fully search a device because the device or files

   contained therein is/are encrypted.

                h.    After the completion of the search of the digital

   devices, the government shall not access digital data falling

   outside the scope of the items to be seized absent further order

   of the Court.

          5.    The review of the electronic data obtained pursuant to

   this warrant may be conducted by any government personnel

   assisting in the investigation, who may include, in addition to

   law enforcement officers and agents, attorneys for the

   government, attorney support staff, and technical experts.

   Pursuant to this warrant, the investigating agency may deliver a

   complete copy of the seized or copied electronic data to the

   custody and control of attorneys for the government and their

   support staff for their independent review.

          6.    In order to search for data capable of being read or

   interpreted by a digital device, law enforcement personnel are

   authorized to seize the following items:

                a.    Any digital device capable of being used to

   commit, further, or store evidence of the offenses listed above;




                                             xii
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed21-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             70  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1313
                                                                                #:70of 14
                                                                                       of
                                    14Page
                                        Page
                                           IDID
                                              #:71
                                                #:57


                b.    Any equipment used to facilitate the

   transmission, creation, display, encoding, or storage of digital

   data;

                c.    Any magnetic, electronic, or optical storage

   device capable of storing digital data;

                d.    Any documentation, operating logs, or reference

   manuals regarding the operation of the digital device or

   software used in the digital device;

                e.    Any applications, utility programs, compilers,

   interpreters, or other software used to facilitate direct or

   indirect communication with the digital device;

                f.    Any physical keys, encryption devices, dongles,

   or similar physical items that are necessary to gain access to

   the digital device or data stored on the digital device; and

                g.    Any passwords, password files, biometric keys,

   test keys, encryption codes, or other information necessary to

   access the digital device or data stored on the digital device.

                h.    After the completion of the search of the digital

   devices, the government shall not access digital data falling

   outside the scope of the items to be seized absent further order

   of the Court.

           7.   During the execution of this search warrant, with

   respect to RODRIGUEZ, who is located in the Central District of

   California during the execution of the search and who is

   reasonably believed by law enforcement to be a user of a

   biometric sensor-enabled device that falls within the scope of

   the warrant, law enforcement personnel are authorized to: (1)



                                             xiii
Case
CaseCase
     2:21-mj-03867-DUTY
     2:21-mj-03867-DUTY   *SEALED*
          5:21-cr-00188-JWH*SEALED*  Document
                                     Document
                              Document 1 Filed21-1
                                                 *SEALED*
                                                   *SEALED*
                                               08/26/21    Filed
                                                        Page  Filed
                                                             71  08/19/21
                                                                 of 08/19/21
                                                                    71     Page
                                                                        Page  Page
                                                                             ID  1414
                                                                                #:71of 14
                                                                                       of
                                    14Page
                                        Page
                                           IDID
                                              #:72
                                                #:58


   depress the thumb- and/or fingerprints of RODRIGUEZ onto the

   fingerprint sensor of the device (only when the device has such

   a sensor), and direct which specific finger(s) and/or thumb(s)

   shall be depressed; and (2) hold the device in front of the face

   of RODRIGUEZ with his eyes open to activate the facial-, iris-,

   or retina-recognition feature, in order to gain access to the

   contents of any such device.          In depressing RODRIGUEZ’s thumb or

   finger onto a device and in holding a device in front of

   RODRIGUEZ’s face, law enforcement may not use excessive force,

   as defined in Graham v. Connor, 490 U.S. 386 (1989);

   specifically, law enforcement may use no more than objectively

   reasonable force in light of the facts and circumstances

   confronting them.

          8.    The special procedures relating to digital devices

   found in this warrant govern only the search of digital devices

   pursuant to the authority conferred by this warrant and do not

   apply to any search of digital devices pursuant to any other

   court order.




                                             xiv
